Case 3:22-cv-00049-NKM-JCH Document 302 Filed 10/10/23 Page 1 of 8 Pageid#: 3722




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                 CHARLOTTESVILLE DIVISION

   BABY DOE, et al.,

                     Plaintiffs,                        CIVIL NO: 3:22-cv-00049-NKM-JCH

   -v.-

   JOSHUA MAST, et al.,

                     Defendants.



          PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION TO COMPEL
             PRODUCTION OF DOCUMENTS FROM JOHN DAVID GIBSON

          Attorney John David Gibson played a central role in the Fluvanna Circuit Court

  proceedings that led to the now-void adoption order procured by Defendants Joshua and Stephanie

  Mast. During the Masts’ illicit crusade to obtain adoption papers for Baby Doe while she resided

  with Plaintiffs John and Jane Doe in Afghanistan, the Fluvanna Circuit Court appointed Gibson as

  Baby Doe’s “guardian ad litem” on October 21, 2020. In less than three weeks, Gibson submitted

  a report recommending entry of the Masts’ requested final adoption order. Less than a month after

  that, the Circuit Court entered the since-voided final order of adoption.          Information and

  documents obtained and held by Gibson are central to this case, with particular relevance to

  Plaintiffs’ claim that Defendants tortiously interfered with their parental rights and conspired with

  others to do so.

          On May 16, 2023, Plaintiffs served Gibson with a subpoena to produce documents by June

  16, 2023. The subpoena outlined a single request: documents and communications relating to the

  efforts of Defendants Joshua Mast and Stephanie Mast to remove, obtain custody of, or adopt Baby

  Doe. Gibson has acknowledged receiving the subpoena but, in the more than four months since


                                                   1
Case 3:22-cv-00049-NKM-JCH Document 302 Filed 10/10/23 Page 2 of 8 Pageid#: 3723




  being served, Gibson has not otherwise responded, objected, or produced documents. Having

  waived any objections, Gibson should be ordered to produce responsive documents.

                                    FACTUAL BACKGROUND

         In the latter half of 2020, Defendants Joshua and Stephanie Mast pursued a final order of

  adoption for Baby Doe in the Fluvanna County Circuit Court. See Am. Compl. ¶ 91-93. They did

  so despite knowing that the governments of the United States and Afghanistan, with the assistance

  of the International Committee of the Red Cross, had identified Baby Doe’s next of kin and despite

  this Court’s denial of a temporary restraining order to halt Baby Doe’s reunification with those kin

  in February 2020. See id. ¶¶ 58, 61-70. Undeterred, the Masts located John and Jane Doe—Baby

  Doe’s cousins in Afghanistan who became her parents —and engaged in a campaign to lure John

  and Jane to the United States under false pretenses and take Baby Doe from them.

         In parallel with that campaign, the Masts sought a final order of adoption from the Fluvanna

  County Circuit Court. During those proceedings, the Fluvanna court appointed Gibson to act as a

  “guardian ad litem” to represent Baby Doe’s interests and investigate the Masts’ petition for

  adoption. The Circuit Court appointed Gibson on October 26, 2020. Sixteen days later, on

  November 11, Gibson submitted a report and recommended entry of a final order of adoption as

  being in the best interest of Baby Doe. Less than a month later, on December 3, 2020, the Circuit

  Court entered the final order of adoption based, in part, on Gibson’s recommendation. It would

  be another 27 months before the Fluvanna court voided that order given the lack of due process

  provided to John and Jane Doe as Baby Doe’s de facto parents and in light of the “evidence of

  some extrinsic fraud.” ECF No. 211-1 at 4-6.

         On May 15, 2023, Plaintiffs served Gibson with a subpoena seeking documents relating to

  his role as “guardian ad litem” to Baby Doe in the Circuit Court proceedings. See Subpoena

  (attached as Ex. 1). Specifically, the subpoena sought the following documents:
                                                   2
Case 3:22-cv-00049-NKM-JCH Document 302 Filed 10/10/23 Page 3 of 8 Pageid#: 3724




                 All Documents and Communications relating to any efforts of
                 Joshua Mast, Stephanie Mast, and/or anyone acting on their behalf
                 to remove, obtain custody of, or adopt a child from Afghanistan,
                 including but not limited to any documents relating to or
                 communications with: Joshua Mast; Stephanie Mast; Richard Mast;
                 Hannon Wright; Kimberly Motley; Liberty University; Liberty
                 Counsel; the Office of the Attorney General of Virginia; the
                 Fluvanna and/or Virginia Departments of Social Services; the
                 Fluvanna Circuit Court; the Fluvanna General and Juvenile and
                 Domestic Relations Court; and any United States federal agency,
                 including but not limited to the Department of Defense, the
                 Department of State, or the Department of Justice.

  Plaintiffs provided the required notice of the subpoena to Defendants. See Fed. R. Civ. P. 45(a)(4).

         More than two weeks later, counsel for Defendants Joshua and Stephanie Mast responded

  with a letter objecting to the Gibson subpoena. See May 30, 2023 Letter from J. Moran to M.

  Eckstein (attached as Ex. 2). Defendant Richard Mast subsequently joined that position. See May

  31, 2023 Email from D. Yerushalmi to S. Tagert (attached as Ex. 3). To confirm the relationship

  between defense counsel and Gibson, the undersigned responded that the Masts’ May 30 letter did

  not state that counsel for Defendants represented Gibson and Plaintiffs would not understand

  otherwise unless counsel for Defendants so advised that they represented Gibson. See May 31,

  2023 Email from M. Eckstein to S. Tagert (attached as Ex. 4). Counsel for Defendants never

  responded and have never claimed to represent Gibson.

         On July 20, 2023 – more than two months after being served with the subpoena – Gibson

  left a voicemail for undersigned counsel and offered to speak about the subpoena. See Tr. of July

  20, 2023 voicemail from J. Gibson to M. Eckstein (attached as Ex. 5). In the voicemail, Gibson

  indicated he had a file regarding Baby Doe in his possession, admitted he had spoken to the FBI

  about the matter, and expressed willingness to share information with Plaintiffs. Counsel for

  Plaintiffs repeatedly has reached out to Gibson since then, but has not received any response.

  Aside from the single voicemail on July 20, Gibson has not responded to the subpoena.


                                                   3
Case 3:22-cv-00049-NKM-JCH Document 302 Filed 10/10/23 Page 4 of 8 Pageid#: 3725




                                             ARGUMENT

           Parties may demand information from third parties under Rule 45 within the same scope

  of discovery that applies to requests made on other parties to the action. See Bell Inc. v. GE

  Lighting, LLC, No. 6:14-CV-00012, 2014 WL 1630754, at *6 (W.D. Va. 2014) (Moon, J.).

  Plaintiffs are thus entitled to obtain relevant information from a nonparty litigant like Gibson. The

  subpoena calls for relevant information. Documents and communications related to Joshua and

  Stephanie Mast’s efforts to obtain custody of Baby Doe in 2020 go directly to Plaintiffs’ claims

  that Defendants tortiously interfered with Plaintiffs’ parental rights and conspired with others to

  do so.

           If Gibson had any reason to object to the production of documents, he was required to serve

  any written objections on Plaintiffs no later than May 30, 2023. See Fed. R. Civ. P. 45(d)(2)(B)

  (requiring written objections to a subpoena duces tecum to be served before the time specified for

  compliance or 14 days after the subpoena was served, whichever is earlier). In the five months

  that have passed since being served with the subpoena, Gibson has not objected to the subpoena

  and, thus, has waived any objections. See, e.g., Santa Rosa Dev., LLC v. Santa Rosa Cnty., No.

  3:22-cv-660-MCR/MJF, 2022 WL 19333936, at *3 (N.D. Fla. 2022) (party waived objections by

  failing to object to subpoenas despite having more than four months to do so); Ford Motor Co. v.

  Versata Software, Inc., 316 F.Supp.3d 925, 932 (N.D. Tex. 2017) (recognizing that “failure to

  serve written objections to a subpoena within the time specified by Rule [45(d)(2)(B)] typically

  constitutes a waiver of such objections, as does failing to file a timely motion to quash”);

  Application of Sumar, 123 F.R.D. 467, 472 (S.D.N.Y. 1988) (“This failure to object timely [to a

  subpoena] constitutes a waiver of any objections.”).

           Defense counsel’s lodging of objections to the subpoena did not absolve Gibson of his

  obligation to respond. See United States ex rel. Ortiz v. Mount Sinai Hospital, 169 F.Supp.3d 538,
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Case 3:22-cv-00049-NKM-JCH Document 302 Filed 10/10/23 Page 5 of 8 Pageid#: 3726




  544 (S.D.N.Y. 2016) (noting that “while nothing in Rule 45 prevents a party from serving

  objections to a non-party subpoena, such objections, standing alone, have no effect on the non-

  party’s obligation to respond to the subpoena”). For one, counsel for Defendants signed the letter

  as “Counsel for Defendants Joshua and Stephanie Mast” and did not respond when asked to state

  that they also represented Gibson. Nor did counsel copy Gibson on the email transmitting the

  letter or otherwise indicate that the letter was even sent to Gibson.

         If Defendants had hoped to halt Gibson’s compliance, the proper course would have been

  to “move to quash or seek a protective order.” Brown v. Deputy No. 1, No. 12-CV-1938-GPC,

  2014 WL 842946, at *3 (S.D. Cal. 2014) (explaining that a litigant “cannot simply object to a

  subpoena served on a non-party”). Yet even if Defendants had filed an appropriate motion, “a

  party does not have standing to challenge a subpoena issued to a nonparty unless the party claims

  some personal right or privilege in the information sought by the subpoena.” United States v.

  Idema, 118 Fed. App’x 740, 744 (4th Cir. 2005). Defense counsel’s May 30, 2023 letter made

  oblique reference to “privileged information protected by the attorney-client privilege and the

  work product doctrine” but avoided stating whether that meant Joshua and Stephanie Mast’s own

  privileged information. To the extent Defendants raised privilege concerns as Good Samaritans

  for Gibson’s other clients, that is not their argument to make. But if Defendants contend that

  Gibson has in his possession information and communications over which they can assert

  privilege, they have not explained, among other things: (1) whether or when Gibson ever served

  as their attorney; (2) whether such an attorney-client relationship was disclosed to the Fluvanna

  Circuit Court when it appointed Gibson as “guardian ad litem” for Baby Doe; (3) if Gibson was

  never their attorney, why they confided privileged information in him; or (4) how that privilege

  has not been waived by such disclosure. More to the point, if there were an attorney-client



                                                    5
Case 3:22-cv-00049-NKM-JCH Document 302 Filed 10/10/23 Page 6 of 8 Pageid#: 3727




  relationship or privilege issue with Gibson’s file, one would expect Gibson to have raised it in his

  voicemail—but he did not. In fact, his message indicated “nothing” “pertinent” regarding “a

  conflict of interest and disclosure of information.”

         In any event, Gibson has received the subpoena, declined to object, and failed to produce

  the requested documents. If a person fails to obey a subpoena “without adequate excuse,” the

  Court may hold them in contempt. Fed. R. Civ. P. 45(g). As a first step, however, Plaintiffs ask

  for an order compelling Gibson’s production of documents pursuant to the subpoena. See Fed. R.

  Civ. P. 45(d)(2)(B)(i) (“At any time, on notice to the commanded person, the serving party may

  move the court for the district where compliance is required for an order compelling production or

  inspection.”).   Plaintiffs have repeatedly but unsuccessfully attempted to obtain Gibson’s

  compliance with the subpoena. There is no basis for Gibson’s silence, and his failure to produce

  the requested documents prejudices Plaintiffs. Plaintiffs therefore ask the Court to order Gibson

  to produce responsive documents immediately.

                                           CONCLUSION

         Accordingly, Plaintiffs respectfully ask the Court to enter an Order compelling John David

  Gibson to produce within 14 days of the entry of the Order the documents requested in the

  subpoena and granting such other and further relief as this Court may deem just and proper.



         Date: October 10, 2023                          Respectfully submitted,

                                                         /s/ Maya M. Eckstein
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                                                   6
Case 3:22-cv-00049-NKM-JCH Document 302 Filed 10/10/23 Page 7 of 8 Pageid#: 3728




                                      CERTIFICATE OF SERVICE

         I hereby certify that on October 10, 2023, I electronically filed the foregoing Memorandum

  in Support of Motion to Compel Production of Documents with the Clerk of Court using the

  CM/ECF system, which will send a notification of such filing (NEF) to all counsel of record in the

  CM/ECF system.

         I further certify that on October 10, 2023, I caused a copy of the foregoing to be sent via

  certified overnight mail to the following:

         John David Gibson
         Law Offices of John David Gibson
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         Louisa, Virginia 23093
         Telephone: (540) 223-1031




                                                      By:     /s/ Maya M. Eckstein
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                                                              Counsel for Defendant




                                                  7
Case 3:22-cv-00049-NKM-JCH Document 302 Filed 10/10/23 Page 8 of 8 Pageid#: 3729




                                       8

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